Case 4:21-cv-01245-P Document 84 Filed 02/06/23       Page 1 of 1 PageID 1173



                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   FIREARMS POLICY COALITION, INC. ET
   AL.,

        Plaintiffs,

   v.                                                 No. 4:21-cv-1245-P

   STEVEN C. MCCRAW, IN HIS OFFICIAL
   CAPACITY AS DIRECTOR OF THE TEXAS
   DEPARTMENT OF PUBLIC SAFETY, ET AL.,

        Defendants.
                                   ORDER
        Before the Court is Plaintiffs’ and Defendant Steven McCraw’s in his
   official capacity as Director of the Texas Department of Public Safety
   (the “Parties”) Joint Notice Regarding Resolution of Pending Issues and
   Motion to Vacate Deadlines (“Motion”). Having considered the Motion,
   applicable law, and docket entries, the Court concludes that the Motion
   should be, and is hereby, GRANTED.

     It is, therefore, ORDERED that the deadlines approved in this
   Court’s Order of January 11, 2023 (ECF Nos. 80, 82) are hereby
   VACATED.

     It is further ORDERED that the Parties will file a Joint Status
   Notice 30 days following entry of this Order to apprise the Court of the
   status of settlement discussions, and any other matter attendant to
   resolution or further litigation of the instant cause.

        SO ORDERED on this 6th day of February 2023.




                  Mark T. Pittman
                  UNITED STATES DISTRICT JUDGE
